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Attorney for Defendant
TING THAVISAK



                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA, )
                                            )        Case No. 2:08-cr-00391-GEB
                                            )
                                            )
              Plaintiff,                    )
       vs.                                  )        ORDER EXONERATING
                                            )        BOND
TING THAVISAK,                              )
                                            )
              Defendant.                    )
                                            )
                                            )


       Good cause appearing and the defendant having completed his sentence imposed by the

Court, IT IS HEREBY ORDERED that the appearance bond posted to secure the release of the

defendant be exonerated and the property posted for bail on behalf of this defendant be reconveyed.

Dated: November 19, 2014




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